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                                                                    #240
~   A 245B
       O       (Rev. 06/05) Judgment in a Criminal Case
               Sheet 1




                        SOUTHERN                                  District of                                ILLINOIS

          UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                               v.
                  VANDEANRUNYON
                                                                         Case Number:           4:05CR40008-003-JPG

                                                                         USM Number: 06672425
                                                                          Michael S . Ghidina
                                                                         Defendant's Attorney
THE DEFENDANT:
gpleaded guilty to count(s)            1 of the Superseding Indictment
    pleaded nolo contendere to count(s)
    which was accepted by the court.
    was found guilty on count(s)
    after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:




                                    Grams or More of Methamphetamine



       The defendant is sentenced as provided in pages 2 through             9          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
    The defendant has been found not guilty on count(s)
    Count(s)                                                 is      are dismissed on the motion of the United States.

         It is ordered that the dcfendant must notify the [Jnited States attomey for thrs distrjct wrthin 30 & s ofany change of name, resrden
or mailing address untrl all fines, restitution,costs, and special assessments unposed by thrsjudgmcnr are fufiy paid. Ifordered to pay restrtutio
the dcfcadant must notrfy the c o w and i!nited Stares attorney of maten31 changes in economlc cucumstanccs.




                                                                          J. Phil Gilbert, District Judge
                                                                                                                    Title of Judge
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                                                                   #241
A 0 245B      (Rev. 06/05) Judgment in Criminal Case



 DEFENDANT: VAN DEAN RUNYON
 CASE NUMBER: 4:05CR40008-003-JPG


                                                               IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:

  46 months on Count I s



      I$ The court makes the following recommendations to the Bureau of Prisons:

  That the defendant be placed in the Intensive Drug Treatment Program



      @ The defendant is remanded to the custody of the United States Marshal.
           The defendant shall surrender to the United States Marshal for this district:

                at                                      a.m.         p.m.     on
                as notified by the United States Marshal.

           The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                before 2 p.m. on
                as notified by the United States Marsbal.
                as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                          to

 at                                                    , with a certified copy of this judgment.



                                                                                                      UNITED STATES MARSHAL


                                                                            BY
                                                                                                   DEPUTY UNITED STATES MARSHAL
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A 0 2458      (Rev. 06105) Judgment in a Criminal Case
              Sheet 3 - Superv~sedRelease
                                                                                                           Judgment-Page      3     of          9
 DEFENDANT: VAN DEAN RUNYON
 CASE NUMBER: 4:05CR40008-003-JPG
                                                         SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of :

  3 years on Count I s .



      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from th
 custody of the Bureau of Pnsons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawful1 possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall su?mit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as d e t e m e d by the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shall not possess a f~earm,annnnnition, destructive device, or any other dangerous weapon. (Check, if applicable.)
        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this 'udgment imposes a f e e or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule oi~aymentssheet of t h ~judgment.
                                    s
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional condition
 on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
   1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the fust five days o
           each month;
   3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or 0th
           acceptable reasons;
   6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)      the defendant shall refrain from exccssiye use of alcohol and shall not purchase, possess, use, d~sh~bute,
                                                                                                                    or administer any
           controlled substance or any paraphemalla related to any controlled substances. except as prescribed by a physs~an;
   8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)      the defendant shall not associate with any ersons en aged in criminal activity and shall not associate with any person convicted of
           felony, unless granted permission to do so%y the progation officer,
  10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of an
           contraband observed in plam view of the probation off~cer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement office
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without th
           permission of the court; and
  13)      as duected by the robation officer, the defendant shall notify third panics of r~sksthat may be occasioned by the defendant's cnmin
           record or personay history or character~stlcsand shall permlt the probation officer to make such notifications and to confirm th
           defendant s compliance w~thsuch notification requirement.
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A 0 2458   (Rev. 06105) Judgment in a Criminal Case             #243
           Sheet 3C - Supervised Release
                                                                                             Judgment-Page     4     of      9
DEFENDANT: VAN DEAN RUNYON
CASE NUMBER: 4:05CR40008-003-JPG

                                         SPECIAL CONDITIONS OF SUPERVISION
 The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the fine in installments of $10.00 or ten
 percent of his net monthly income, whichever is greater.

 The defendant shall participate in a program of mental health treatment, as directed by the probation officer, until such time
 as the defendant is released from the program by the probation officer.

 The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

 The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, and/or any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.

 The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
 dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
 residence andlor participation in a residential treatment facility. Any participation will require complete abstinence from all
 alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling andlor testing
 based on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total
 costs of counseling
                      Case 4:05-cr-40008-JPG                              Document 130 Filed 01/27/06                                        Page 5 of 6         Page ID
AO 2458       (Rev. 06/05) Judgment in a Criminal Case                              #244
              Sheet 5 -Criminal Monetary Penalties
                                                                                                                                                            5
DEFENDANT: VAN DEAN RUNYON
                                                                                                                                          Judgment - Page
                                                                                                                                                            - of               9

CASE NUMBER: 4:05CR40008-003-JPG
                                                             CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6

                             Assessment                                                         -
                                                                                                Fine                                               Restitution
TOTALS                     $ 100.00                                                        $ 200.00                                              $ 0.00



     The determination of restitution is deferred until                      -. An Amended Judgment in a Criminal Case (A0 245C) will be enter
     after such determination.

     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayment, unless specified otherwise
     the priority orper or percentage payment colunmielow. However, pursuant to 18 d k . 8 . 5 3664{), all nonfederal victims must be p
     before the Umted States 1s pald.

Name of Yavee                                                                                    Total*                            Restitution Ordered      Prioritv or Percentage
   :. .       ..
                                                                  ..
                                                                                                                                                                               .




          .       .
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                                                                                                                                                                           , ,     ,'%




TOTALS                                             $                             0.00                   $                                0.00


     Restitution amount ordered pursuant to plea agreement $

     The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fme is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

@ The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      &d the interest requirement is waived for the                            @ fme                    restitution.
              the interest requirement for the                          fme               restitution is modified as follows:



* Findings for the total amount of losses are re uired under Chapters 109A, 110,11OA, and 113A of Title 18 for offenses committed on or aft
September 13, 1994, but before Apn123, 199%.
              Case 4:05-cr-40008-JPG                  Document 130 Filed 01/27/06                     Page 6 of 6             Page ID
A 0 245B   (Rev. 06/05)Judgnent in a Criminal Case              #245
           Sheet 6 -Schedule of Payments
                                                                                                       J u d g m e n t Page   6   of         9
 DEFENDANT: VAN DEAN RUNYON
 CASE W E R : 4:05CR40008-003-JPG

                                                     SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetiuy penalties are due as follows:

 A    @ Lump sum payment of $                                due immediately, balance due

                 not later than                                 ,01
                 in accordance                C,      D,          E, or        F below; or

 B         Payment to begin immediately (may be combined with             C,          D, or        F below); or
 C         Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

 D         Payment inequal                     (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E         Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    @ Special instructions regarding the payment of criminal monetary penalties:
            While on supervised release, the defendant shall make monthly payments in the amount of $10.00 or ten percent
            of his net monthly income, whichever is greater.




 Unless the coun has express1 ordered otherwise, if thtsjud ment impoqes imprisonment, a ent nfcnnunal monetiuy penalties is due durtn
                               Y
 imprisonm~pt. All srumna moneta penaltius, except %ose paymints made througR t c ~ c d c n Hweau
 Kesponsihtltty Program, are made to x e clerk of the coun.
                                                                                                  l     of Pnsnns' h t e Financt


 The defendant shall receive cremt for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in .the follow~ngorder: ( I assessment, (2) restitution principal, (3) restitution interest, (4)fine pmcipal,
(5) fine interest, (6) community restitution. (7)penalties, and (8) costs, including cost of prosecution and coun costs.
